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                   IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION

                                     )
DELCHON WEATHERSPOON,                )
                                     )
      Petitioner,                    )
                                     )    No. 17-cv-2535-SHM-cgc
v.                                   )
                                     )
BILL OLDHAM, SHELBY COUNTY           )
SHERIFF,                             )
                                     )
      Respondent.                    )
                                     )


                                  ORDER


      Before the Court is Petitioner Delchon Weatherspoon’s

Emergency Motion for Compliance with Conditional Writ, filed on

March 29, 2018 (“Emergency Motion”).         (ECF No. 36.)    Respondent

Sheriff Bill Oldham of Shelby County responded on April 23,

2018.      (ECF No. 41.)   Weatherspoon replied on April 30, 2018.

(ECF No. 42-1.)


      For the following reasons, Weatherspoon’s Emergency Motion

and his § 2241 Petition are DENIED.


      I.      Background


      On July 25, 2017, Weatherspoon filed a petition for writ

of habeas corpus under 28 U.S.C. § 2241 (the “§ 2241

Petition”).      (ECF No. 1.)   His § 2241 Petition argued that the
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Shelby County Criminal Court (the “state court”) had failed to

comply with the Equal Protection and Due Process Clauses of the

United States Constitution when setting his bail at $200,000.

(ECF No. 1-7 at 481.)      Weatherspoon contended that Due Process

required the state court to consider indigency and the

availability of a less restrictive non-monetary alternative

condition or combination of conditions of release.           (ECF No. 22

at 617.)


       On February 26, 2018, this Court entered an Order granting

a conditional writ of habeas corpus, releasing Weatherspoon,

unless the state court held a bail hearing comporting with Due

Process, within 30 days of the issuance of the writ, to

determine whether continued detention was justified.           (ECF No.

31.)    The Court decided that Due Process required the state

court to consider indigency and the availability of a less

restrictive non-monetary alternative condition or combination

of conditions of release.       (Id.)


       On March 2, 2018, Weatherspoon filed his Motion for

Partial Reconsideration, contending that the Court should

reconsider whether the state court must apply a clear and

convincing standard.      (ECF No. 33-1 at 734.)      The Court denied

that motion on April 19, 2018, holding the state court may

apply a preponderance of the evidence standard. (ECF No. 40.)


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      On March 22, 2018, the state court held a hearing.            (Mar.

22, 2018 Hr’g Tr., ECF No. 39-1.)        The state court reduced

Weatherspoon’s bail to $100,000 and ordered “GPS monitoring if

Mr. Weatherspoon is able to post that bond.”          (Id. at 866.)


      In his Emergency Motion, Weatherspoon argues that “[t]he

[state court] did not find that no combination of non-monetary

conditions of release was sufficient reasonably to ensure Mr.

Weatherspoon’s presence at trial and the safety of the

community.”    (ECF No. 36 at 754.)      Weatherspoon contends that,

by reducing the monetary bail from $200,000 to $100,000, the

state court “necessarily concluded that [Weatherspoon’s]

release did not pose an immitigable risk to the community[.]”

(Id. at 755 (emphasis in original).)         Weatherspoon argues that

he is entitled to release because the state court failed to

comply with this Court’s conditional writ.          (Id.)


      Respondent argues that this Court lacks authority to

decide Weatherspoon’s Emergency Motion because Weatherspoon has

not exhausted his state remedies and that the state court’s

March 22, 2018 Hearing comported with Due Process.           (ECF No. 41

at 879.)    Respondent contends that “[i]mplicit in the [state]

court’s ruling . . . was a finding that there were no non-

monetary conditions of release that could ensure




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[Weatherspoon’s] appearance at trial and ensure the safety of

the public.”     (Id. at 885.)


      Weatherspoon’s reply argues that this Court retains

jurisdiction over conditional writs of habeas corpus and that

“the [state] court could not have simultaneously complied with

this Court’s writ and lowered Petitioner’s money bail to an

amount still beyond his means.”          (ECF No. 44 at 906-09.)

Weatherspoon contends that the post-bail GPS monitoring

requirement “confirm[s] that [Weatherspoon] can be safely

released” and that “if he had the money to pay, a condition

such as GPS monitoring would be sufficient to serve the

purposes of bail.”      (Id. at 909.)


      II.   Jurisdiction & Standard of Review


      A “[‘]district court retain[s] jurisdiction to enforce its

conditional grant of a writ of habeas corpus.’”           D'Ambrosio v.

Bagley, 656 F.3d 379, 385 (6th Cir. 2011) (quoting Gentry v.

Deuth, 456 F.3d 687, 692 (6th Cir. 2006)).          This Court retains

jurisdiction.     Further exhaustion of Weatherspoon’s state

remedies is unnecessary.


      “[‘]A state's failure to timely cure the error identified

by a federal district court in its conditional habeas order

justifies the release of the petitioner.’”          Gentry, 456 F.3d at


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692 (quoting Satterlee v. Wolfenbarger, No. 03–71682–DT, 2005

WL 2704877, at *2 (E.D. Mich. Oct. 19, 2005), aff'd in part,

453 F.3d 362 (6th Cir. 2006)).


      III. Analysis


      This Court’s February 26, 2018 Order held that, when a

defendant is indigent, Due Process requires that “the state

court properly consider[] non-monetary conditions of release,

and determine[] whether no non-monetary condition or

combination of conditions of release [are] adequate, before

setting a bail amount.”       (ECF No. 31 at 722-23 (emphasis

added).)


      The March 22, 2018 hearing complied with Due Process.

After hearing proof, the state court judge addressed “the

specific factors:” 1 “length of residence in the community,”

“[e]mployment status and history, financial conditions,” 2

“family ties, relationship,” “reputation, character and mental

condition,” “prior criminal record,” “[n]ature of the offense

and the apparent probability of conviction or likely sentence,”

and “[a]ny other factor indicating the defendant’s ties to the

      1
         The addressed factors track those in Tenn. Code Ann. §§ 40-11-115
and 40-11-118.
      2
        The state court recognized Weatherspoon’s indigent status, referring
to Weatherspoon’s Affidavit of Indigency and his statement that “he can
afford to pay a bond in the amount of $1000.” (Id. at 863, 866.) The
state court also recognized that there was insufficient evidence that
Weatherspoon was able to post bond. (Id.)

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community or bearing on the risk of a willful failure to

appear.”    (Mar. 22, 2018 Hr’g Tr., ECF No. 39-1 at 862-66.)

Balancing those factors, the state court found that release on

recognizance was inappropriate in this case.          (Id. at 865.)     It

then decided to “reduce the bond to $100,000, [and] require GPS

monitoring if Mr. Weatherspoon is able to post that bond.”

(Id. at 866.)


      The State made the following statement after the judge’s

decision:


      And, Judge, just to clarify, there’s no combination
      of pretrial release factors that the Court could find
      that would be sufficient.       You do feel like a
      monetary bond with a GPS factor -- a GPS monitor
      would be appropriate in this case.       But there’s
      nothing under 40-11-117 that you would find would be
      sufficient as conditions of some sort of [release on
      recognizance] and then additional conditions.
(Mar. 22, 2018 Hr’g Tr., ECF No. 39-1 at 866-67.)           The judge

responded by saying, “Thank you for articulating that clearly.”

(Id. at 867.)


      The judge concluded by stating:


      So I mean I’m trying to work with Defense as well as
      I think I can, but I -- I am not convinced that there
      are options available to this Court to assure the
      safety of the victim as well as the perhaps targeted
      second victim. And I just -- I can’t do any better
      than that. $100,000 and GPS monitoring.
(Mar. 22, 2018 Hr’g Tr., ECF No. 39-1 at 869.)



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      The state court “properly consider[ed] non-monetary

conditions of release, and determine[ed] whether no non-

monetary condition or combination of conditions of release

[were] adequate, before setting a bail amount.”           (ECF No. 31 at

722-23 (emphasis added).)


      The $100,000 bond functions as a detention order.


      [R]equiring money bail as a condition of release at
      an amount impossible for the defendant to pay is
      equivalent to a detention order, which is only
      appropriate when the state shows and the court finds
      that no condition or combination of conditions of
      release could satisfy the purposes of bail, to assure
      the defendant’s appearance at trial or hearing and
      the safety of the public.
(ECF No. 31 at 719 (collecting cases).)         Because Weatherspoon

is indigent, the $100,000 bail is equivalent to a detention

order.


      Before setting bail, the state court found that no

condition or combination of conditions of release could satisfy

the purposes of bail.      (See Mar. 22, 2018 Hr’g Tr., ECF No. 39-

1 at 866-67, 869.)      The state court considered indigency and

availability of less restrictive non-monetary alternatives.

Responding to counsel, the state court found that no

combination of pretrial release conditions would be sufficient.

The state court specifically found that it had no other options




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to assure the safety of the victim and a potential second

victim.


      There is no formulaic recitation that conveys the absence

of any condition or combination of conditions of release that

could assure the safety of the public.         The state court set

bail at an amount beyond Weatherspoon’s financial means because

it “was not convinced that there are options available to [it]

to assure the safety of the victim as well as the perhaps

targeted second victim.”       (Id. at 869.)    After an extended

consideration of Weatherspoon’s requests for conditions of

release, the state court decided that effective detention was

appropriate.     (See Mar. 22, 2018 Hr’g Tr., ECF No. 39-1 at 866-

67, 869.)    The state court’s reasoning sufficiently conveys

that no condition or combination of conditions of release could

satisfy the purposes of bail.


      The state court imposed GPS monitoring in the event that

Weatherspoon could post bail.       That post-bail condition does

not nullify the state court’s finding that no non-monetary

condition or combination of conditions of release would be

adequate.


      The state court’s March 22, 2018 Hearing comported with

Due Process.     Weatherspoon’s Emergency Motion is DENIED.

Because the state court has complied with the requirements of

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this Court’s conditional writ of habeas corpus, Weatherspoon’s

§ 2241 Petition is DENIED.


      IV.   Conclusion


      For the foregoing reasons, Weatherspoon’s Emergency Motion

and his § 2241 Petition are DENIED.




So ordered this 1st day of May, 2018.

                                   /s/ Samuel H. Mays, Jr.
                                  SAMUEL H. MAYS, JR.
                                  UNITED STATES DISTRICT JUDGE




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